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   John D. Penn
   Texas Bar No. 15752300
   PERKINS COIE LLP
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   Dallas, Texas 75201
   TEL: (214) 965-7700
   FAX: (214) 965-7799
   Email: jpenn@perkinscoie.com

   Counsel for Buaite Againn, LLLP

                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

    IN RE:                                             §
                                                       §
    JOHN HILBURN DAVIS, IV,                                Case No. 21-10970-HCM
                                                       §
                                                       §
             Debtor.                                       Chapter 7
                                                       §
                                                       §

                             NOTICE OF RULE 2004 EXAMINATION

            Counsel for Buaite Againn, LLLP will examine the following person under oath, at the

   date, time, and location set forth herein. The examination is being conducted pursuant to Federal

   Rules of Bankruptcy Procedure 2004 and Local Rule 2004 and will be taken before an officer

   authorized to record the testimony. The scope of the examination shall be as described in Federal

   Rule of Bankruptcy Procedure 2004. Pursuant to Local Rule 2004(c), no order shall be necessary.

            Examinee:     Digital Brands Group, Inc.

            Date:         April 21, 2022

            Time:         9:30 a.m.

            Location:     405 Colorado Street, Suite 1700
                          Austin, Texas 78701

            The list of topics upon which the Examinee must provide one or more witnesses (as

   outlined on the reverse of the subpoena to be served upon the Examinee) is attached hereto and is


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   located on the page for Examination Topics. The examination may continue from day to day until

   completed and the chapter 7 trustee, or other parties in interest, may attend and ask questions. If

   the Examinee receives this notice less than 14 days prior to the scheduled examination date, the

   examination will be rescheduled upon timely request to a mutually agreeable time. Pursuant to

   Local Rule 2004(b), any objection must be filed within seven (7) days of service of this notice.

                                   REQUEST FOR PRODUCTION

            The examinee shall produce those documents, records, and tangible things listed in Exhibit

   A attached to this notice on or before Noon on April 13, 2022, and may contact John D. Penn,

   Esq. at (214) 965-7734 or jpenn@perkinscoie.com to coordinate such production.

    Dated: March 21, 2022                            Respectfully submitted,



                                                     /s/ John D. Penn
                                                     John D. Penn
                                                     Texas Bar No. 15752300
                                                     Perkins Coie LLP
                                                     500 N. Akard Street, Suite 3300
                                                     Dallas, Texas 75201
                                                     Phone: (214) 965-7734
                                                     Fax: (214) 965-7784
                                                     Email: jpenn@perkinscoie.com

                                                     Counsel for Buaite Againn, LLLP




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                                CERTIFICATE OF CONFERENCE

           The undersigned hereby certifies that, following inquiry to the attorney for the Debtor (who
   serves as the Chief Executive Officer of the proposed examinee), I communicated with the attorney
   who had been identified as the attorney for Digital Brands Group, Inc. by providing drafts of this
   Notice and the attachments hereto. The attorneys for the Debtor and the Chapter 7 Trustee were
   copied on the electronic mail message.

          More than ten (10) days later, in response to a follow up message, the attorney replied that
   “While we are corporate/securities counsel to the company we are not representing the company
   in connection with this action.” That attorney copied counsel for the Debtor and Chapter 7 Trustee
   on his message. (Since the attorney did note that his firm was not representing the Examinee in
   this matter and did provide the same information to the attorneys for the Debtor and the Chapter 7
   Trustee, his name and contact information are not included in this filing.)

           A follow up message to the Debtor’s attorney did not provide a name of an attorney who
   would represent the Examinee with respect to this Rule 2004 Examination so Buaite Againn, LLLP
   is proceeding by notice and subpoena rather than by agreement.


                                                 /s/ John D. Penn
                                                 John D. Penn




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                                  CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on March 21, 2022, a true and correct copy of the
   foregoing was served upon all parties authorized to receive notice in this case via the Court’s
   Electronic Case Filing system, as well as personally, upon the entity listed below.

   Service List

    National Registered Agents, Inc.,              The personal service included this Notice, the
    as registered agent for                        attachments hereto and a subpoena issued
    Digital Brands Group, Inc.                     pursuit to this Notice and Local Bankruptcy
    1999 Bryan Street, Suite 900                   Rule 2004
    Dallas, Texas 75201



   A copy of the foregoing was also mailed to the Debtor at the addresses noted on his voluntary
   petition by first class mail, postage prepaid:

   John Hilburn Davis IV
   205 Tellus Street
   Lakeway, Texas 78734

   John Hilburn Davis IV
   1400 Lavaca Street
   Austin, Texas 78701



                                                             /s/ John D. Penn

                                                             John D. Penn




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